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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                         Case No.: 1:20-cv-23564-MGC

    DAVID WILLIAMS and CAROLL
    ANGLADE, THOMAS MATTHEWS,
    MARTIZA ANGELES, and HOWARD
    CLARK, on behalf of himself and all others similarly
    situated,

    Plaintiffs,

    v.

    RECKITT BENCKISER LLC and
    RB HEALTH (US) LLC,

    Defendants.



    Theodore H. Frank,

    Objector.




    OBJECTOR THEODORE H. FRANK’S SUPPLEMENTAL BRIEF IN RESPONSE TO
         THE COURT’S ORDER REGARDING LABELING CHANGES (Dkt. 105)
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                                               INTRODUCTION
           As the Court appreciates in its Minute Order (Dkt. 105), the injunction does very little.
   Defendants remain free to use all of the misleading statements identified in plaintiffs’ complaints
   except for two idioms: “clinically proven” and “science proved.” As the original Settlement was
   written, defendants intend to use both “clinically tested” and “clinically shown” instead, and the
   Settlement does not even prohibit use of words like “proven” outside of the two restricted idioms. 1
           In the context of Neuriva’s advertising and packaging—which contains myriad questionable
   statements—the substitution of “proven” for “tested” provides no value whatsoever. The change is
   “superfluous—or even adverse to consumers.” Pearson v. NBTY, Inc., 772 F.3d 778, 785 (7th Cir. 2014)
   (reversing approval of settlement, while affirming finding of no substantive difference in change from
   “support[s] renewal of cartilage” to “contains a key building block of cartilage”). Defendants may still
   advertise that Neuriva “fuels” several “indicators of brain performance,” that it’s “backed by science,”
   and “clinically shown to help brain performance.” The overall message remains unchanged: Neuriva,
   a product that has never been clinically tested at all—is “clinically tested” to help consumers, for
   example, “stay on task longer” and “filter out distractions.” Dkt. 52-1 (“Settlement”), Ex. E.
           The changes make no material difference, as defendants’ conduct shows. In March, the
   defendants launched a celebrity endorsement ad campaign using actress Mayim Bialik as their “science
   ambassador” who boasts about her credential as an “actual neuroscientist.” iSpot.tv, Neuriva TV
   Commercial,    “Actual    Neuroscientist”    Featuring   Mayim      Bialik    (2021)     (available    at
   https://www.ispot.tv/ad/O6KI/neuriva-actual-neuroscientist-featuring-mayim-bialik (last accessed
   Sep. 13, 2021)) (“Bialik TV ad”). The campaign uses the term “clinically tested” in the place of
   “clinically proven,” id., even though the Settlement permits the defendants to manufacture and sell
   Neuriva as “clinically proven” until six months after final approval. If the tag “clinically proven” were
   as uniquely valuable as defendants self-servingly argue, surely it would have been worth producing a
   second version of their new advertising so that they could continue to capitalize on the term. The


           1 At 8:15 PM, defendants filed their Notice Regarding First Amended Settlement Agreement
   (Dkt. 116), which they claim resolves some of Frank’s objections. The parties provided Frank no
   notice they were working on such an amendment. Frank reserves his right to supplement his objection
   in view of the changes.



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   preemptive revisions show that the changes are as immaterial to the defendants as they are worthless
   to the class.
           Without the hypothetical value of the injunction, the Settlement earmarks more money for
   attorneys than their clients, and cannot stand as fair, reasonable, or adequate. See, e.g., Briseño v.
   Henderson, 998 F.3d 1014 (9th Cir. 2021).
                                               ARGUMENT

   I.      The injunction provides no value to class members.
           The Court correctly asks whether consumers would even comprehend the difference between
   one idiom (“clinically proven”) and phrases conveying an identical meaning (“clinically tested” and
   “shown”). But this is merely a prerequisite to showing that the injunction provides any benefit to the
   class at all. Even if a grammarian could parse a different connotation between “proven” and “shown,”
   this doesn’t show a difference in understanding Neuriva’s marketing overall, which remains heavily
   laden with claims plaintiffs pleaded to be false and deceptive. In the context of Neuriva marketing,
   the substitution of a couple of words does not convey a different meaning to consumers.
           Objector Frank incorporates previous filings by him and TINA, many of which address the
   injunction. See Dkts. 75, 83, 92, 100, 106, 108, 109, 111, 112, and 114.

           A.      Consumers would not appreciate any distinction between the packaging and
                   advertising in their complete, misleading context.
           The court asks whether “the distinctions, if any, between how a reasonable consumer (or
   potential consumer) would understand a label or marketing reference for a Neuriva product described
   as ‘clinically proven’ and how she would understand a label or marketing reference for the same
   Neuriva product described as ‘clinical studies have shown [some benefit to brain performance and/or
   brain health, including learning, memory, focus, reasoning, accuracy or concentration].’”
           In the first place, the injunction does not necessarily do even this much—it does not clearly
   prohibit use of the word “proven” and similar words. While it expressly allows defendant to say that
   clinical testing has “shown,” it conspicuously does not outright ban use of the term “proven” and its
   analogs. Dkt. 52-1 (“Settlement”) at 8. This ambiguity is heightened because the Settlement says:
   “Labeling in a form substantially similar to that depicted in Exhibit E shall be considered compliant
   with the injunctive relief agreed herein” (id.), and one of the packages attached continues to use



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   Neuriva’s slogan “Nature made it. Science proved it. Brains love it.” Dkt. 52-1, at E-3.2 Obviously,
   if the Settlement allows defendants to write that its ingredients are “clinically tested” and further that
   this testing “proved” Neuriva was “clinically shown” to “fuel” brain health indicators, the Settlement
   literally requires no difference in Neuriva’s messaging to consumers.
           Even if the settling parties amend their agreement to clearly curtail the word “proven,” nearly
   all of defendants’ “uniformly deceptive advertising and marketing” remains. Dkt. 36 (“Amended
   Complaint”), ¶ 6. Defendants may still falsely claim Neuriva is “backed by science.” Id. Defendants
   will continue to tout “improved brain performance … in the areas of Focus, Memory, Learning,
   Accuracy, Concentration, and Reasoning.” Compare id. ¶ 7 with Settlement, Ex. E. Neuriva packaging
   still says it’s “time to brain better.” Id. ¶ 8. It still says the ingredients are “clinically shown to enhance
   brain performance,” only substituting the word “proven.” Id. The Bialik TV ad calls the ingredients
   “neuroscientist-approved.” “Proven” and “shown” are simply synonyms, as several thesauruses show
   (and prove!).3 Cambridge Dictionary even defines “proven” as “shown to be true.” 4 If the Settlement
   is approved, defendants will still advertise with a picture of a brain and design to “induce consumers
   to believe that Neuriva has been proven as a matter of fact to provide meaningful brain performance
   benefits.” Dkt. 36 ¶ 9-10. Defendants will still trumpet ingredients that have never been tested together
   at all, citing “disturbingly misleading” studies as if they “show” otherwise. Id. ¶ 9-12. The label change
   may substitute two or three words, but this makes little difference to consumers and potential
   consumers—the entire context of Neuriva marketing remains misleading just as the plaintiffs pleaded.




           2 “Science   proved” seems to be one of the idioms that should be precluded by the Settlement
   (Dkt. 52-1, at 8), so perhaps this is a drafting error. If so, it highlights how careless the settling parties
   were with injunction terms they now pretend to be of paramount importance.
           3Proven, POWER THESAURUS, https://www.powerthesaurus.org/proven/synonyms; Proven,
   Thesaurus.com, https://www.thesaurus.com/browse/proven; Shown, Merriam Webster Thesaurus,
   https://www.merriam-webster.com/thesaurus/shown;        Shown,        POWER     THESAURUS,
   https://www.powerthesaurus.org/shown/synonyms (all last visited Sep. 13, 2021).
           4     Proven,    CAMBRIDGE        DICTIONARY       ONLINE,         available     online             at:
   https://dictionary.cambridge.org/dictionary/english/proven (last visited Sep. 13, 2021).



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          B.       Expert publications uniformly show “clinically tested” to be equivalent to
                   “clinically proven” in advertising.
          Objector Frank does not have the budget to hire multiple purported experts to opine on
   peripheral issues as defendants have. He certainly cannot afford to pay them extravagant and
   undisclosed compensation.5 That said, expert authorities and publications in the record support his
   objection. Knowledgeable commentators observe that the claim “clinically tested” can create a false
   impression just as well as “clinically proven” does (even without adding the word “shown”). TINA
   has introduced most of these authorities to the record, and Objector Frank summarizes them here for
   the Court’s convenience.

                  Federal Trade Commission. In Dietary Supplements: An Advertising Guide for Industry,
                   the FTC advises that an advertiser who claims a product has been “studied” should
                   also be able to substantiate its efficacy due to the implied claim of success. Other FTC
                   publications and decisions reach similar conclusions. Dkt. 92 at 2-3. Here, defendants
                   need not merely imply efficacy, but claim it directly though use of the word “shown.”

                  National Advertising Division of the Better Business Bureau. Several NAD
                   recommendations have rejected the argument that “clinically tested” claims require
                   substantiation because such claims would only have meaning if the advertiser intended
                   to convey that proof existed. Dkt. 83 at 4-5. Here, the implication is explicit because
                   defendants will say “clinically tested” and that the testing has “shown” various
                   propositions.6 While NAD recommendations come at the conclusion of a voluntary
                   process, most advertisers participate in the process because failure to do so results in
                   referral to the FTC. Because NAD continually evaluates claims like “clinically tested,”
                   their recommendations should be taken as knowledgeable expert opinion.

                  Department of Health and Human Services, Office of Inspector General. The
                   HHS OIG observed that “clinically tested” and “scientifically proven” may be similarly
                   misleading because they could confuse consumers into thinking supplements undergo
                   premarket validation or approval similar to FDA review. Dkt. 114 at 2-3;
                   https://oig.hhs.gov/oei/reports/oei-01-01-00121.pdf.




          5  Punam Keller was compensated at a rate of $1000/hour. Dkt. 98-4. Neither of the Gary
   Small declarations appear to disclose his compensation at all. Dkts. 62-1 & 86-1. The omission is a
   required disclosure under Fed. R. Civ. Proc. 26(a)(2)(A) & (B)(vi), creating consequences for the
   admissibility of the expert under Fed. R. Civ. Proc. 37(c)(1).
          6 Frank previously addressed defendant’s argument that a much older, multi-faceted NAD
   settlement stood for the opposite proposition. Dkt. 100 at 6.



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                  The Global Council on Brain Health. Reported that nearly half of seniors
                   mistakenly believed such FDA premarket review does in fact occur. Id. at 4;
                   https://www.aarp.org/content/dam/aarp/health/brain_health/2019/06/gcbh-
                   supplements-report-english.doi.10.26419-2Fpia.00094.001.pdf.

                  Health Canada. Imposes the same requirements for the labelling of drugs whether
                   they are said to be “clinically tested” or “clinically proven,” suggesting no meaningful
                   difference in how consumers could perceive the terms. Id. at 5;
                   https://www.canada.ca/content/dam/hc-sc/migration/hc-
                   sc/dhpmps/alt_formats/pdf/prodpharma/applic-demande/guide-
                   ld/label_guide_ld-eng.pdf.

                  Rich Cleland, FTC Assistant Director. Mr. Cleland wrote in response to the Court’s
                   earlier minute order (Dkt. 84) that “significant number of consumers would not see
                   any difference” because any “clinically tested” claim includes an implicit finding of
                   validity. Dkt. 92-1. Again, this logic is even more convincing when defendants add a
                   “shown” claim which makes the implicit claim explicit.

                  Food and Drug Administration. FDA’s 2009 Guidance for Industry: Substantiation for
                   Dietary Supplement Claims Made Under Section 403 (r) (6) of the Federal Food, Drug, and
                   Cosmetic Act says that the overall message of advertising should be considered together as
                   well as than individual claims. Dkt. 75 at 5-6. Here, Neuriva will not be marketed as
                   “clinically tested” in a vacuum, but in conjunction with myriad other claims, include
                   the direct statement that testing has “shown” clinical benefit from the ingredients,
                   which created the same impression as Neuriva’s old marketing.
           Defendants have denigrated the FDA guidance as non-binding recommendations that do not
   create enforceable obligations (Dkt. 86 at 14-15), but this does not diminish the expert nature of the
   publication. In executing the Settlement, defendants themselves acknowledged the persuasive
   authority of the FDA guidance. The Settlement provides that should defendants add additional
   marketing claims, these may be allowed “without limitation, upon the criteria in the [FDA] Guidance
   Document … or such alternate approach as interpreted by state or federal law and the Court to
   otherwise satisfy state or federal laws and regulations.” Settlement at 9.
           Defendants have also argued that their revised claims are not misleading and contrary to FDA
   guidance because their packaging supposedly does “not refer to the products themselves, but instead
   to the products’ ingredients.” Dkt. 86 at 16. The banners used on the three model packages attached
   as Exhibit E to the Settlement show otherwise:




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           At the top of each box, a banner displays the words “Clinically Tested” in large type, with the
   remaining words below in smaller type. This design is ambiguous: a reasonable consumer might get
   the impression that the lines of text are independent clauses—for example, that Neuriva is both
   “clinically tested” and also that it has “naturally sourced ingredients.” This impression is particularly
   emphatic in the model packaging for Neuriva De-Stress (the third banner shown above). A reasonable
   consumer would simply not interpret the banner as a single phrase “clinically tested naturally sourced
   ingredients decaffeinated coffee cherry & melon concentrate” because the phrase doesn’t even make
   sense without punctuation. Instead, a reasonable consumer would conclude that the whole product is
   (1) “clinically tested,” (2) has “naturally sourced ingredients,” and (3) those ingredients include
   “decaffeinated coffee cherry & melon concentrate.” The first proposition is simply false. Defendants
   cannot deny Neuriva has never been clinically tested.
           In short, the term “clinically tested,” combined with claims about how Neuriva “fuels” brain
   performance and has ingredients “shown” to “help support brain performance” conveys exactly the
   same false message as before: that Neuriva itself has been tested and proven to do the things the
   packaging implies that it does.

           C.      Defendants’ own conduct shows they do not regard the term “Clinically
                   Proven” as uniquely valuable.

           Defendants have voluntarily limited their use of “clinically proven” well before the settlement

   requires because they know the term itself has negligeable effect on their marketing and sales.

           Shortly after execution of the proposed Settlement—and over a month before preliminary

   approval—defendants announced that actress Mayim Bialik would be their “science ambassador.” 7

   Bialik has a Ph.D in neuroscience, but no scientific journal publications. Since completing her

   dissertation in 2007 (“Hypothalamic Regulation in Relation to Maladaptive, Obsessive-compulsive,

   Affiliative, and Satiety Behaviors in Prader-Willi Syndrome”), Bialik worked as an actress—not as a



           7 Neuriva® Partners with Mayim Bialik to Educate and Empower Consumers on Brain Health, PR
   NEWSWIRE (Mar. 16, 2021), available online at: https://www.prnewswire.com/news-releases/neuriva-
   partners-with-mayim-bialik-to-educate-and-empower-consumers-on-brain-health-301247710.html
   (accessed Sep. 13, 2021).



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   scientist. Defendants produced a series of slick commercials with Bialik, and not one features the term

   “clinically proven.” For example, the 30-second commercial “I Love Brains,” Bialik says “unlike

   ordinary memory supplements, Neuriva fuels six key indicators of brain performance to keep your

   brain on its toes, metaphorically speaking.”8 This statement itself creates the false impression that

   Neuriva has been tested—how else would Neuriva be “unlike ordinary memory supplements”? The

   false impression is not corrected when Bialik speaks of “clinically tested ingredients that are

   neuroscientist approved” pointing to herself, presumably because she is the “neuroscientist” who

   approves. The commercial concludes with the slogan “think bigger” and a view of packaging for

   Neuriva Plus that says “Clinically Tested” at the top of the box. See further Dkt. 83 (TINA amicus) at 6-9

   (explaining how the Bialik advertising is misleading but entirely permitted under the Settlement).




           Neuriva Plus boxes like the one featured in this ad do not appear to currently exist in the

   market. Defendants went out of their way to mock-up nonexistent packaging in order to excise

   “clinically proven” language entirely from their commercials. While defendants presumably did not

   want to need to re-cut their commercials after final approval of the Settlement, if these label claims

   were really especially valuable to the defendants, surely they would be used during Neuriva’s splashy

   new campaign while they were still permitted.

           The defendants’ brand manager averred that “RB would not willingly or voluntarily remove

   the claim ‘Clinically Proven’ and replace it with ‘Clinically Tested,’ absent the settlement requiring us


           8Neuriva Plus - I Love Brains, Neuriva Brain Performance (May 13, 2021), available online at:
   https://www.youtube.com/watch?v=MjPLuM8f62E (accessed Sep. 13, 2021).



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    to do so.” Dkt. 98-2, ¶ 30. But they are substituting the term, even though the Settlement does not

    require it. Under the Settlement, defendants need not have altered their marketing and packaging until

    the Initiation Date, which is six months after final approval and judgment—and at least ten months after

    the beginning of the Bialik ad campaign Settlement at 8-9; id. at 3 (defining “Initiation Date”). Even

    then, the Settlement does not prohibit defendants selling products manufactured prior to the Initiation

    Date. If the “Clinically Proven” label were as valuable as defendants suggest, surely it would have been

    worthwhile to make a second cut of the commercial to be used for the ten-plus months prior to the

    Initiation Date.

            Defendant has further voluntarily adjusted their packaging for new products. Defendants

    apparently launched a new product called Neuriva “Brain + Eye” or “Brain and Vision.” This product

    does not yet appear on Neuriva’s website, but it has been sold on Ebay at least since June, with

    packaging that uniformly says “clinically tested.”9 It is also available on Amazon, which includes

    photographs and ancillary marketing material that uniformly reads “clinically tested” rather than

    “clinically proven.”10 TINA previously flagged the “Brain + Eye” product as being anomalously

    omitted from the Settlement (Dkt. 83 at 5 n.5), but it appears to be a new product line launched this

    year. Some of the boxes sold on Ebay include markings that suggest they were packaged on

    February 19, 2021—weeks prior to preliminary approval and just fifteen days after parties executed

    the Settlement Agreement.11


            9Ebay results for “neuriva brain vision,” filtered for sold items only, available online at:
    https://www.ebay.com/sch/i.html?_from=R40&_nkw=neuriva+brain+vision&_sacat=0&rt=nc&
    LH_Sold=1&LH_Complete=1 (accessed Sep. 13, 2021), archive link at: https://archive.ph/jr5xl.
            10 Lutein & Coffee Cherry – Neuriva Brain + Eye Support Capsules (30 count in a box), With Vitamins
    A C E, Zinc, Zeaxanthin, Antioxidants, Filters Blue Light, Decaffeinated, Vegetarian, Gluten & GMO Free,
    AMAZON.COM, available online at: https://www.amazon.com/Lutein-Coffee-Cherry-Antioxidants-
    Decaffeinated/dp/B091KLKVPK/ (accessed Sep. 13, 2021).
            11 See, e.g., Neuriva Brain Performance & Vision Health 2 in 1 Supplement 30 Capsules 2/23 NEW,
    available online at: https://www.ebay.com/itm/Neuriva-Brain-Performance-Vision-Health-2-in-1-
    Supplement-30-Capsules-2-23-NEW-/184813073139?nordt=true&rt=nc&orig_cvip=true (accessed
    Sep. 13, 2021), archive links at: https://archive.md/d9CLH and https://archive.md/g87Z9 (depicting



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            Defendants are apparently making these changes for their “own business reasons (presumably

    to avoid further litigation risk), not because of any court-or settlement-imposed obligation.” Koby v.

    ARS Nat’l Servs., 846 F.3d 1071, 1080 (9th Cir. 2017) (vacating and remanding approval of settlement).

    The voluntary changes show—and thus prove–the lack of value attributable to the settlement

    injunction.

            D.      Even if there were a perceptible difference in Neuriva marketing, the injunction
                    provides no value to class members.
            The proponents of a settlement must bear “the burden of demonstrating that class members
    would benefit from the settlement’s injunctive relief.” Koby, 846 F.3d at 1080; In re Dry Max Pampers
    Litig., 724 F.3d 713,719 (6th Cir. 2013) (compiling authorities). “[N]on-cash relief … is recognized as
    a prime indicator of suspect settlements.” In re GMC Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55
    F.3d 768, 803 (3d Cir. 1995).
            Even if the injunction were valuable, and even if class counsel was not the primary beneficiary

    of the agreement, this “relief” is conferred on all future users, regardless of class membership. Pampers,

    724 F.3d at 720 (“The fairness of the settlement must be evaluated primarily based on how it compensates

    class members—not on whether it provides relief to other people, much less on whether it interferes

    with the defendant’s marketing plans.” (emphasis in original) (internal quotation marks omitted)).

    “[F]uture purchasers are not members of the class, defined as it is as consumers who have purchased

    [the product].” Pearson, 772 F.3d at 786. “No changes to future advertising by [the defendant] will

    benefit those who already were misled by [the defendant]’s representations.” True v. Am. Honda Motor

    Co., 749 F. Supp. 2d 1052, 1077 (C.D. Cal. 2010). See generally Erin L. Sheley & Theodore H. Frank,

    Prospective Injunctive Relief and Class Settlements, 39 HARV. J. L. AND PUB. POL’Y 769 (2016) (explaining

    how prospective injunctive relief can generate conflicts and abuses in consumer class settlements).




    sold listing of “Neuriva Brain + Eye” box with stamps on the bottom that say “021921” “Lot:
    ACS530” and “Exp: 02/2023”).



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            The settling parties have failed to “evidence to suggest that many, if any, members of the

    proposed class would derive a benefit from obtaining the injunctive relief afforded by the settlement.”

    Koby, 846 F.3d at 1080.

            None of defendants’ purported expert testimony established any value for the injunction. Gary

    Small’s declarations (Dkt. 62-1 & 86-1) that contend that Neuriva’s marketing is supported, but make

    no comment on the terminology at issue: shown, tested, and proven. The declaration of Punam Keller

    cannot properly be called expert testimony at all because it contains no apparent methodology, as

    Frank previously argued. Dkt. 100 at 9-11. Moreover, the declaration entirely misses the mark of the

    Court’s current inquiry. It contrasts dictionary definitions of “tested” and “proven” without

    considering the context of the marketing, including the Settlement’s express endorsement defendant

    using the term “shown.” Dkt. 98-4 at 16-17.

            If the settling parties file belated evidence arguing for such value, Objector Frank reserves all

    rights—including his right to seek discovery from any belated declarants.

    II.     Because the injunction provides no recovery, the Settlement must be rejected for
            unfairly, unreasonably, and inadequately prioritizing attorneys’ interests.
            Because the injunction provides no benefit to class members, the fairness of the settlement
    fails due to the disproportionate allocation of attorneys’ fees and lackluster class benefit. See, e.g., Kim
    v. Allison, __F.4th__, 2021 WL 3627260 (9th Cir. Aug. 17, 2021).
            While the settling parties have argued that they provided adequate notice and recovery, the
    contrast with another recent Reckitt settlement undermines this notion. In Yamagata v. Reckitt Benckiser
    LLC, plaintiffs obtained contact information for 4.7 million consumers of defendants’ Move Free
    product and provided direct notice to those class members. No. 3:17-cv-3529-VC, Dkt. 221 (N.D.
    Cal. May 12, 2021). Notice was provided in Yamagata even though—unlike this settlement—plaintiffs
    established a fixed monetary fund of $50 million and defendants’ liability could not increase due to
    increased claims. In contrast, in this case, more claims would cost defendants more money, yet the
    parties agreed to provide no direct notice whatsoever. The point is: a low take rate claims-made
    settlement does not serve the interests of the class and was certainly not the only option available for
    the settling parties, who promote an illusory $8 million fund with full knowledge that it would unlikely




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    be claimed. Objection, Dkt. 75 at 25-27; Dkt. 107 (Tr.) at 60 (objector’s argument that claims process
    ensured meager recovery); id. at 69 (Court’s suggestion to renegotiate the settlement to shift some
    attorneys’ fees toward class recovery).
            The proposed Settlement provides no meaningful injunction, and earmarks most of its meager
    pecuniary value to attorneys. This cannot be fair, reasonable, or adequate.
                                                 CONCLUSION
            “Clinically tested” and “shown” cannot plausibly make a different impression on consumers,
    nor does it provide them with even a peppercorn worth of value. For this reason, the settlement
    should be judged based on its pecuniary terms, which militate against final approval. Perhaps the
    settlement may be renegotiated into fairness, but the substitution of a few words on Neuriva’s label
    cannot make the upside-down fee application fair, reasonable, or adequate under Rule 23(e).


    Date: September 13, 2021                  Respectfully submitted,

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                                    CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing was filed with the Court via the
    CM/ECF system, which will send notification of such filing to all attorneys of record.

    September 13, 2021                   /s/ Matthew Seth Sarelson
                                         Matthew Seth Sarelson




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